            Case 1:15-cv-01380-KBJ Document 78 Filed 01/02/20 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ELBERT BROWN, et al.,

               Plaintiffs,

       v.                                              Civil Action No. 15-01380 (KBJ)

GOVERNMENT OF THE DISTRICT OF
COLUMBIA,

               Defendant.


                                  JOINT STATUS REPORT

       As directed by the Court’s September 26, 2019 Minute Order, the Parties submit this

Joint Status Report.

                                       Plaintiffs’ Position

       Plaintiffs propose that the Court vacate the stay and set a Scheduling Conference for

January 15, 2020, or during the period February 5 to February 14, 2010.

       The motion for preliminary injunction in the related case of Burke v. Wiedefeld, Civil

Action No. 19-3145 will not finally dispose of the only issue common to both the Burke case and

this case – whether the definition of “panhandling” in the “panhandling” statute is content-

based.1 Moreover, the Burke motion will turn on issues that WMATA disputes and the District

conceded in Brown, e.g., whether panhandling is protected First Amendment speech. Finally, the



1
  In the related case of Burke v. Wiedefeld, Civil Action No. 19-3145, Mr. Burke challenges
WMATA’s arrest of Mr. Burke for panhandling on two independent grounds: Claim One, the
“panhandling” (D.C. Code § 22-2302) statute is unconstitutional because it is a content-based
regulation of protected speech that does not survive strict scrutiny; and alternatively, Claim Two,
the arrests violate the First Amendment even if the statute does not apply because of the
McFarlin case discussed below.
            Case 1:15-cv-01380-KBJ Document 78 Filed 01/02/20 Page 2 of 7



Burke motion for preliminary injunction may turn on the WMATA Use Regulations rather than

on the panhandling statute. Therefore, Plaintiffs believe that it will be inefficient to wait for a

decision on the preliminary injunction motion in Burke before moving forward in this case or to

otherwise let this case trail the Burke case.

    I.   Plaintiffs’ Proposal

         For the reasons explained below, Plaintiffs propose the following:

      ➢ Vacate stay immediately;

      ➢ Parties continue to mediate informally as before;

      ➢ Plaintiffs file (after stay is lifted, or after certification decision) a motion for partial
        summary judgment solely on the legal issue of whether the definitional section of the
        panhandling statute is content based;2

      ➢ Plaintiffs file a motion for preliminary injunction on either the “aggressive panhandling”
        or “panhandling from a vehicle in a motor way” sections of the panhandling statute or
        both (but not panhandling in a Metro Station because (1) the McFarlin case; and (2) the
        MPD do not make arrests for panhandling in a Metro Station);

      ➢ Parties meet and confer and file a meet and confer statement, with Scheduling
        Conference on January 15, 2020, or during the period February 5 to February 14, 2020;

      ➢ Plaintiffs promptly file motion for class action treatment;3



2
  Rule 56(a) explicitly provides that a party “may move for summary judgment identifying …
the part of each claim or defense … on which summary judgment is sought.” 11 Moore's Federal
Practice - Civil § 56.122 (2019) (quoting Fed. R. Civ. P. 56(a) (emphasis added)). This language
was added to the rule in 2010 to make clear that summary judgment may be requested not only
as to an entire case, or as to a complete claim or defense, but also as to parts of claims or
defenses. Fed. R. Civ. P. 56, advisory committee note of 2010 (“The first sentence [of
subdivision (a)] is added to make clear at the beginning that summary judgment may be
requested … as to … part of a claim or defense.”).
3
 Whether Plaintiffs’ file the partial motion for summary judgment on whether the statute is
content-based or the motion for class action treatment first depends on whether the parties can
agree on the “once-way intervention” aspect of filing a motion for summary judgment before
certification. See e.g., Postow v. OBA Fed. Sav. & Loan Ass'n., 627 F.2d 1370, 1382 (D.C. Cir.
1980); see also Brown v. Colegio, 613 F.3d 44 (1st Circuit 2010) (accord).



                                                 14
          Case 1:15-cv-01380-KBJ Document 78 Filed 01/02/20 Page 3 of 7



    ➢ Parties can file motion/ cross motion for summary judgment on the issue of whether the
      District satisfies strict scrutiny for each section of panhandling statute Plaintiffs
      challenge;

       There is no need for this case to trail the Burke case for the reasons stated below

including the only real overlap in the two cases is the panhandling in a Metro Station section, and

(1) the District does not enforce that section, (2) the preliminary injunction motion in the Burke

case may turn on WMATA’s Use Regulations rather than the panhandling statute, and (3)

whereas WMATA challenged whether panhandling is First Amendment protected speech, and

whether the above ground areas of the Metro Stations are public forums, the District conceded

that panhandling is protected First Amendment speech, and the District conceded that the areas

where aggressive panhandling and panhandling in a motor way are enforced are public forums.

 II.   This case does not need to trail Burke because the issues are different.

       The elements of Plaintiffs’ claims drive Plaintiffs’ proposal.

       Plaintiffs challenge three different sections of the District’ panhandling statute: (1)

aggressive panhandling under D.C. Code § 22-2302(a); (2) panhandling motor vehicle in a

roadway, D.C. Code § 22-2302(d); panhandling in a Metro station statute, D.C. Code § 22-

2302(b) (as interpreted by McFarlin v. District of Columbia, 681 A.2d 440 (D.C. 1996)). The

same definition of “panhandling” (“[a]sk, beg, or solicit alms”) in D.C. Code § 22-2301(2)

applies to each of these sections. Plaintiffs contend the definition of “[a]sk, beg, or solicit alms”

in D.C. Code § 22-2301(2) is content based for two reasons: (1) it criminalizes requests for

immediate donations, but not requests for donations later; and (2) it singles out the topic or

subject matter of soliciting alms for oneself but not other forms of speech or charitable donations

or other forms of donations. 5th Amended Complaint (“5th Am. Cmpl.”) [61], ¶¶ 153 to 155;

Plaintiffs Opposition to District’s motion to dismiss [64], pp. 14-15 (ECF pagination).




                                                 14
          Case 1:15-cv-01380-KBJ Document 78 Filed 01/02/20 Page 4 of 7



        Under the applicable law, if this Court finds that the definitional section applicable to

each of the three sections Plaintiffs challenge is “content-based,” the burden shifts to the District

to justify the content-based regulation on speech under “strict scrutiny.” Reed v. Town of

Gilbert, Ariz., 135 S. Ct. 2218, 2226 (2015); Pursuing America's Greatness v. FEC, 831 F.3d

500, 508-09 (D.C. Cir. 2016)(if a law, by its terms, discriminates based on content, court applies

strict scrutiny "regardless of the government's benign motive, content-neutral justification, or

lack of 'animus toward the ideas contained' in the regulated speech." (quoting Reed)). A finding

that a statute is content-based is, as a practical matter, usually dispositive of liability. Id.

        The question of whether a statute is content-based is a question of law. Id.

        Presumably, although the same definitional section applies to each of the three sections

and the test for whether it is a content-based regulation of speech applies equally to each of the

three sections, the justification for each of the three sections under the “strict scrutiny” analysis is

different. So, unless the District is willing to concede that the “strict scrutiny” analysis for

“panhandling in a Metro Station” is the same analysis for “aggressive panhandling” and

“panhandling from a vehicle in a motor way,” then resolution of whether the justification for

“panhandling in a Metro Station” satisfies strict scrutiny will not resolve the issue of whether the

justification for “aggressive panhandling” whether the justification for “panhandling in a motor

way” satisfies strict scrutiny.

        This case is different from Burke for several other reasons:

        (1) It is not clear whether this Court will resolve the preliminary injunction in Burke on
            the basis of the panhandling statute given that the McFarlin Court interpreted the
            “panhandling in a Metro Station” provision to apply only inside of the McFarlin
            Zones, and Mr. Burke panhandles only outside of the McFarlin Zones. Mr. Burke also
            alleged that WMATA’s arrests of Mr. Burke violated his First Amendment rights
            apart from the panhandling statute, Complaint [1], Claim 2, and the Court may




                                                   14
           Case 1:15-cv-01380-KBJ Document 78 Filed 01/02/20 Page 5 of 7



             resolve the motion on the basis of whether WMATA’s Use Regulations violate the
             First Amendment;
         (2) In Burke WMATA challenged almost every element of Mr. Burke’s claim, For
             example, WMATA challenged whether the First Amendment even applies to
             panhandling, Opposition [10], p. 16 et seq. (ECF pagination), and WMATA
             challenged whether the above ground areas of the Smithsonian and L’Enfant Plaza
             Metro Stations are public forums under WMATA’s new Use Regulations, Id. at 20. In
             contrast, the District has conceded from the start of this case that panhandling is
             protected First Amendment speech, see e.g., Motion to dismiss 5th Am. Cmpl., [63] p.
             15 (ECF pagination), and the District has always conceded that “aggressive
             panhandling” and “panhandling from a car in the motorway” take place in public
             forums, Id. at 17 (Sections 22-2302(a) (aggressive panhandling) and (d) (panhandling
             from a vehicle in a motor way) apply to public forums). There’s no reason for this
             case to trail Burke on the applicability of the First Amendment since the District has
             conceded the issue. Similarly, there is no reason for this case to trail Burke since the
             District conceded that “aggressive panhandling” and “panhandling from a car in the
             motorway” take place in public forums, and this issue not part of the case in Burke.
         (3) WMATA challenges whether the McFarlin Court’s interpretation applies to it,
             Opposition [1], p. 24 n. 9, whereas the District aggressively relies on McFarlin,
             Motion [63] at 16. Therefore there is no reason for this case to trail Burke while the
             applicability of McFarlin to WMATA gets sorted.

         Finally, even if this Court rules in favor of Mr. Burke and WMATA appeals, the

pendency of that appeal would not automatically justify a stay of the litigation in Burke.

         These two cases are related cases and Mr. Burke plans to file a motion for summary

judgment in Burke on the sole issue of whether as a matter of law the definitional section of the

panhandling is content-based perhaps at the same time as Plaintiffs file their motion for partial

summary judgment in Brown. Plaintiffs submit that a better plan is to coordinate the two motions

for partial summary judgment on the single issue that is dispositive in both cases rather than

letting Brown trail Burke, because Burke raises so many issues which are not disputed issues in

Brown.




                                                 14
          Case 1:15-cv-01380-KBJ Document 78 Filed 01/02/20 Page 6 of 7



                                         Defendant’s Position

        The District of Columbia (the District) believes that the Court should maintain the stay in

this case pending this Court’s resolution of the motion for a preliminary injunction (Motion) in

Burke v. Wiedefeld, Civil Action No. 19-3145. That case challenges the Washington

Metropolitan Area Transit Authority’s (WMATA’s) enforcement of the same statute at issue in

this litigation, D.C. Code § 22-2302 (the “panhandling statute”). The Court’s resolution of the

Burke Motion (and any potential appeal) may affect the posture of this case, clarify the issues

that need to be litigated (including whether plaintiffs intend to move for a preliminary injunction

in this matter), and inform the District’s position on further settlement negotiations. As such,

judicial economy favors maintaining the stay to avoid potentially duplicative proceedings. The

Court should require the Parties to submit a further status report within one week of resolving the

Burke Motion, detailing how they believe the outcome of that Motion affects this proceeding and

their proposal(s) for next steps in this litigation.

        To the extent the Court determines not to maintain the stay in this litigation, the schedule

proposed by plaintiffs is impractical and inefficient for the following reasons. First, the Court

cannot grant summary judgment on a non-dispositive issue, and whether the panhandling statute

is a content-based restriction on speech does not resolve the constitutionality of the statute. As

such, any briefing on summary judgment should encompass all issues related to the

constitutionality of the statute. Second, it is inefficient for the Court to consider summary

judgment briefing if plaintiffs intend to move for a preliminary injunction, as the Court would

need to consider that motion first. Third, the Parties have not yet discussed whether the Court

should first resolve the constitutionality of the panhandling statute on summary judgment before

considering issues of class certification (issues that would be rendered moot if the Court finds the




                                                   14
          Case 1:15-cv-01380-KBJ Document 78 Filed 01/02/20 Page 7 of 7



statute constitutional). As such, in the event the Court decides to lift the stay, it should provide

the Parties with a reasonable time in which to confer regarding the schedule for discovery and

any further dispositive motions briefing and to submit a proposed scheduling order to the Court.

Dated: January 2, 2020.                           Respectfully submitted,

/s/ William Claiborne                              KARL A. RACINE
WILLIAM CLAIBORNE [446579]                         Attorney General for the District of Columbia
ClaiborneLaw
717 D Street, N.W.                                 TONI MICHELLE JACKSON
Suite 300                                          Deputy Attorney General
Washington, D.C. 20004                             Public Interest Division
(202) 824-0700
claibornelaw@gmail.com                             /s/ Fernando Amarillas
                                                   FERNANDO AMARILLAS [974858]
Counsel for Plaintiffs                             Chief, Equity Section

                                                   /s/ Gregory M. Cumming
                                                   GREGORY M. CUMMING [1018173]
                                                   MICAH BLUMING [1618961]
                                                   Assistant Attorneys General
                                                   441 Fourth Street, N.W., Suite 630 South
                                                   Washington, D.C. 20001
                                                   (202) 724-6627
                                                   (202) 715-7769
                                                   gregory.cumming@dc.gov

                                                   Counsel for Defendant




                                                14
